      Case 1:16-cv-09855-JGK    Document 1      Filed 12/21/16   Page 1 of 62




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                        x
WAYNE COUNTY EMPLOYEES’                 :   Civil Action No.
RETIREMENT SYSTEM, Derivatively on      :
Behalf of COMSCORE, INC.,               :   VERIFIED SHAREHOLDER DERIVATIVE
                                        :   COMPLAINT FOR VIOLATIONS OF THE
                        Plaintiff,      :   FEDERAL SECURITIES LAWS AND
                                        :   STATE LAW CLAIMS FOR BREACHES OF
       vs.                              :   FIDUCIARY DUTIES, ABUSE OF
                                        :   CONTROL, CONSTRUCTIVE FRAUD,
GIAN M. FULGONI, WILLIAM P. LIVEK, :        CORPORATE WASTE, UNJUST
SERGE MATTA, MAGID M. ABRAHAM, :            ENRICHMENT AND GROSS
DAVID I. CHEMEROW, MELVIN F.            :   MISMANAGEMENT
WESLEY III, KENNETH J. TARPEY,          :
WILLIAM J. HENDERSON, WILLIAM E.        :
ENGEL, RUSSELL FRADIN, RONALD J.        :
KORN, BRENT D. ROSENTHAL, JEFFREY :
GANEK, WILLIAM KATZ, JOAN M. LEWIS :
and PATRICIA A. GOTTESMAN,              :   DEMAND FOR JURY TRIAL
                                        :
                        Defendants.
                                        :
       -and-                            :
                                        :
COMSCORE, INC., a Delaware corporation, :
                                        :
                  Nominal Defendant.    :
                                        x
        Case 1:16-cv-09855-JGK           Document 1         Filed 12/21/16      Page 2 of 62




                   INTRODUCTION AND SUMMARY OF THE ACTION

       1.      This is a shareholder derivative action brought by a shareholder of comScore, Inc.

(“comScore” or the “Company”) on behalf of the Company against the members of its current Board

of Directors (the “Board”) and certain of its current and/or former senior directors and executives

(collectively, “Defendants”). This action seeks to remedy Defendants’ violations of federal and state

law, including breaches of fiduciary duties, abuse of control, constructive fraud, corporate waste,

unjust enrichment and gross mismanagement, arising out of a scheme and wrongful course of

business whereby Defendants, dating back to 2013, had caused comScore to repeatedly overstate its

publicly-reported financial results in violation of Generally Accepted Accounting Principles

(“GAAP”), to operate without effective internal controls to facilitate the false financial reporting, to

file false and misleading statements with the Securities and Exchange Commission (“SEC”) and to

permit certain of its current and former executives to profit from this misconduct.

       2.      Nominal Party comScore is a global media measurement and analytics company

providing marketing data and analytics to many of the world’s largest enterprises, media and

advertising agencies, and publishers. The Company’s technology offerings promise to more

accurately measure e-commerce audience size, allowing the purchasers of advertising to effectively

allocate spending budgets and media content sites to profitably market their advertising landscape.

       3.      During 2013, Defendants began causing the Company to improperly book more than

$43 million in revenue from so-called nonmonetary “barter” transactions, permitting comScore’s

management to manipulate the Company’s reported earnings and to conceal how and the extent to

which its use of nonmonetary transactions overstated the Company’s reported revenues and earnings.

Defendants’ recognition of nonmonetary revenue also caused comScore to dramatically overstate its

billings and revenue growth, important metrics for investors, causing a dramatic increase in the

market price of comScore common stock as set forth in the following chart:
        Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16       Page 3 of 62




       4.      In these nonmonetary “barter” transactions, comScore was providing its subscription

products and solutions that it typically sold on a cash basis to data source providers in exchange for

additional consumer demographics and segmentation data from those data source providers that

Defendants later claimed “improve[d] the accuracy and granularity of [the Company’s] products and

services.”1 The lion’s share of those nonmonetary transactions were conducted with a single

counterparty, the Acxiom Corporation (“Acxiom”), upon whose board of directors the current

Chairman of the comScore Board, William J. Henderson (“Henderson”), also sits. Because the

counterparties to these nonmonetary transactions were not exchanging actual cash payments, both

sides could unilaterally decide the value of the services provisioned and the related expenses to them

of provisioning services, proving substantial opportunity to manipulate revenue recognition.



1
       Unless otherwise noted, internal citations are omitted and emphasis is added throughout.

                                                -2-
        Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16       Page 4 of 62




       5.      In February 2016, the comScore Board’s Audit Committee announced that it was

commencing an investigation into the Company’s accounting after having received tips concerning

possible accounting malfeasance. In August 2016, the Company announced that it would need

additional time to file its interim financial statements for the second quarter of 2016. Defendants

revealed that the Board had identified some misreporting of nonmonetary revenue – primarily barter

transactions. comScore also disclosed that it had appointed its co-founder Gian M. Fulgoni

(“Fulgoni”) to replace its then-Chief Executive Officer (“CEO”) Serge Matta (“Matta”) as CEO.

Then Executive Vice Chairman of the Board, William Livek (“Livek”), who had only recently

joined comScore in connection comScore’s acquisition of the Rentrak Corporation (“Rentrak”) in

February 2016, would assume responsibilities for the Company’s strategic and day-to-day

operations. comScore also abruptly fired its Chief Financial Officer (“CFO”) Melvin F. Wesley III

(“Wesley”).

       6.      On September 15, 2016, Defendants announced that the Board’s Audit Committee

had concluded that all of comScore’s previously-issued financial statements for fiscal years 2013

and 2014, along with the first three interim reporting periods of fiscal 2015 and the Company’s fiscal

year 2015 financial results that had been reported on February 23, 2016, could no longer be relied

upon and would have to be restated because they erroneously recognized revenue from nonmonetary

transactions that should never have been recognized in violation of GAAP. As a result, the

Company then reported that all of the more than $43 million in nonmonetary revenue Defendants

had caused comScore to report in its financial statements had been recognized in violation of GAAP.

Of that more than $43 million in nonmonetary revenue that the Company has now admitted was

improperly recognized, more than $19 million—nearly half—was derived from transactions with

Acxiom.


                                                -3-
        Case 1:16-cv-09855-JGK            Document 1         Filed 12/21/16       Page 5 of 62




        7.      In the ensuing weeks, Defendants would claim that comScore’s outgoing CEO and

CFO had merely “resigned from employment with the Company for Good Reason” in connection

with the “change of control” that occurred in connection with the Rentrak acquisition in early 2016,

rather than for-cause terminations. Because the Board deemed those terminations “for Good

Reason,” comScore had to pay each of those faithless fiduciaries hundreds of thousands of dollars in

severance payments, including receiving multi-hundred thousand dollar annual salaries for 24

months in the case of Defendant Matta and for 15 months in the case of Defendant Wesley. They

were also allowed to keep $9 million of stock and restricted stock units (“RSUs”) that had

improperly vested to them as a direct result of the artificial stock price inflation their false financial

reporting had caused.

        8.      On November 17, 2016, the newly appointed Chairman of comScore’s Board and yet

another independent outside director both suddenly and without explanation resigned from their

positions.

        9.      Then on November 23, 2016, comScore was forced to disclose that it had identified

more improper accounting concerning monetary transactions and contracts in additional amounts the

Company has not yet quantified. Whereas Defendants had represented in August 2016 that the

elimination of improper recognition of revenues on barter transactions would be at least partially

offset by the corresponding elimination of related expenses, there would be no offsetting elimination

of expenses for the newly discovered improper revenue recognition on these monetary contracts.

        10.     Concerning the defects in comScore’s internal controls that had facilitated the false

financial reporting, Defendants disclosed on November 23, 2016 that the “Audit Committee’s

investigation also identified concerns regarding internal control deficiencies, including concerns

about tone at the top; errors in judgment identified with respect to issues reviewed; information not


                                                  -4-
        Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16       Page 6 of 62




having been provided to the Company’s accounting group and its external auditors; and the

sufficiency of public disclosures made by the Company about certain performance metrics.” As of

the filing of this Complaint, comScore has still been unable to fully quantify the required financial

restatements or to bring its SEC filings current and the NASDAQ is threatening to permanently

delist the Company’s common stock if those filings are not brought current by February 23, 2017.

       11.     Defendants’ malfeasance, mismanagement and self-dealing during the relevant period

has wreaked or threatened to wreak hundreds of millions of dollars of damages on comScore. The

Company’s senior executives were incentivized to issue false and misleading financial reports and

statements in order to run up the market price of comScore common stock and then sell their

personally-held comScore shares to the unsuspecting public. Indeed, while in possession of material

non-public information, certain of the Defendants abused their fiduciary relationship with the

Company by selling more than $78.3 million of their personally held shares to the unsuspecting

public at artificially inflated prices. In a further effort to buttress the market price of the common

stock to facilitate those stock sales, Defendants also caused comScore to engage in a share buy-back

and repurchase more than four million of comScore shares at artificially inflated prices, thereby

causing comScore to overpay an estimated $49 million for those shares. As a result of Defendants’

misconduct, the Company has been sued in this Court by purchasers of its common stock and that

lawsuit seeks hundreds of millions of dollars in damages on a classwide basis for violations of the

federal securities laws. comScore has also been named as a defendant in various other lawsuits

arising from this same misconduct.

       12.     Defendants’ gross mismanagement, malfeasance, misrepresentations, self-dealing and

wrongful course of conduct violated the Securities Exchange Act of 1934 (the “Exchange Act”), as

well as New York and Delaware law, exposing comScore to criminal and civil liability. By


                                                -5-
        Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 7 of 62




authorizing and/or acquiescing in the accounting misstatements, Defendants: (i) caused comScore to

issue materially false and misleading financial reports and to file materially false and misleading

financial statements with the SEC; (ii) caused comScore common stock to trade at artificially

inflated prices, facilitating the sale of more than $78.3 million of certain comScore’s senior

executives’ and directors’ personally-held comScore common stock at artificially inflated prices; (iii)

caused comScore to waste more than $49 million repurchasing its own shares at those same

artificially inflated prices; (iv) exposed comScore to hundreds of millions of dollars in potential

liability to its investors and regulators, including the SEC; and (v) caused comScore to improperly

pay hundreds of thousands of dollars in severance payments to departing executives and allowed

them to walk away with millions of dollars of improperly vested stocks and RSUs, instead of

requiring them to reimburse the Company for the potentially hundreds of millions of dollars in

damages they caused.

       13.     This action seeks recovery for comScore against these faithless fiduciaries, as

comScore’s Board of Directors, as currently composed, is simply unable or unwilling to do so.

                                 JURISDICTION AND VENUE

       14.     The claims asserted herein arise under §§10(b) and 20(a) of the Exchange Act, (15

U.S.C. §§78j(b) and 78t(a)), and SEC Rule 10b-5 (17 C.F.R. §240.10b-5), promulgated thereunder,

and under state law for breaches of fiduciary duties, abuse of control, constructive fraud, corporate

waste, unjust enrichment and gross mismanagement. In connection with the acts, conduct and other

wrongs complained of herein, Defendants, directly or indirectly, used the means and

instrumentalities of interstate commerce, the United States mail and the facilities of a national

securities market.




                                                 -6-
        Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 8 of 62




       15.     This Court has subject matter jurisdiction pursuant to §27 of the Exchange Act (15

U.S.C. §78aa), as well as 28 U.S.C. §1331. This Court also has supplemental jurisdiction over the

state law claims asserted herein pursuant to 28 U.S.C. §1367.

       16.     This action is not a collusive one to confer jurisdiction on a court of the United States

which it would not otherwise have.

       17.     Venue is proper in this District pursuant to §27 of the Exchange Act (15 U.S.C.

§78aa), as well as 28 U.S.C. §1391(b). Many of the acts alleged herein, including the preparation

and dissemination of materially false and misleading information, occurred in substantial part in this

District. comScore and certain of the Defendants also conduct business in this District. The

Company maintains significant operations in New York City, the U.S. advertising mecca, at both its

7 Penn Plaza and its 352 Park Avenue South locations. The Company’s common stock is listed and

trades on the NASDAQ located in this District and Defendants conducted various investor

conferences in New York City during the relevant period to communicate with comScore investors.

                                             PARTIES

       18.     Plaintiff Wayne County Employees’ Retirement System is a shareholder of

comScore, and holds and has held comScore stock at relevant times.

       19.     Nominal party comScore is a Delaware corporation founded in 1999.

       20.     Defendant Fulgoni co-founded comScore in 1999, has served on its Board since

founding and has served as its CEO since September 2016. Previously, Defendant Fulgoni served as

Executive Chairman of the Board from comScore’s founding in 1999 until March 2014 and as

Chairman Emeritus from March 2014 until August 2016. comScore’s 2015 Annual Proxy statement

to shareholders concedes that even when merely serving as Chairman Emeritus, Defendant Fulgoni

lacked independence from the other Board members due to his positions at the Company and

relationships with its management. Defendant Fulgoni also serves as a director of Dynamic Signal,
                                                 -7-
        Case 1:16-cv-09855-JGK              Document 1   Filed 12/21/16     Page 9 of 62




Inc. (“Dynamic Signal”), a social media marketing technology company for which Defendant Fradin

(defined below) serves as chairman of the board of directors and CEO. Defendant Fulgoni also sits

on the Petmed Express, Inc. (“Petmeds”) board of directors with Defendant Korn (defined below),

where they both sit on the audit, compensation and corporate governance committees together and

Defendant Korn is chairman of the audit committee. Because of Defendant Fulgoni’s positions, he

knew the adverse non-public information about the business of comScore, as well as its finances,

markets and present and future business prospects, via access to internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at

management and/or Board meetings and committees thereof and via reports and other information

provided to him in connection therewith. During the relevant period, Defendant Fulgoni participated

in the issuance and preparation of materially false and/or misleading statements, including press

releases and SEC filings. While in the possession of material non-public information about

comScore, Defendant Fulgoni sold $6.2 million of his personally-held comScore stock during the

relevant period at fraud-inflated prices.

       21.     Defendant Livek has served as a member of the comScore Board since comScore

acquired Rentrak in February 2016 and has served as the Executive Vice Chairman and President of

comScore since August 2016. Previously, Defendant Livek served as a director of Rentrak and as

Rentrak’s CEO prior to comScore’s acquisition by Rentrak. At comScore, Defendant Livek receives

an annual salary of at least $435,000 per year plus annual cash bonuses and long term incentive

awards consistent with the senior executives of comScore. Because of Defendant Livek’s positions,

he knew the adverse non-public information about the business of comScore, as well as its finances,

markets and present and future business prospects, via access to internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at


                                                 -8-
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16     Page 10 of 62




management and/or Board meetings and committees thereof and via reports and other information

provided to him in connection therewith. During the relevant period, Defendant Livek participated

in the issuance and preparation of materially false and/or misleading statements, including press

releases and SEC filings.

       22.     Defendant Matta served as comScore’s CEO from March 1, 2014 until August 5,

2016, after joining the Company in 2000. Defendant Matta formally ended his employment with

comScore on October 10, 2016 and resigned his directorship on December 15, 2016. Because of

Defendant Matta’s positions, he knew the adverse non-public information about the business of

comScore, as well as its finances, markets and present and future business prospects, via access to

internal corporate documents, conversations and connections with other corporate officers and

employees, attendance at management and/or Board meetings and committees thereof and via

reports and other information provided to him in connection therewith. During the relevant period,

Defendant Matta participated in the issuance and preparation of materially false and/or misleading

statements, including press releases and SEC filings. While in the possession of material non-public

information about comScore, Defendant Matta sold $10.6 million of his comScore stock during the

relevant period at fraud-inflated prices.

       23.     Defendant Magid M. Abraham (“Abraham”) co-founded comScore in 1999 and was,

from the Company’s inception until March 1, 2014, comScore’s CEO, and, from March 1, 2014 until

July 21, 2016, the Executive Chairman of the comScore Board. On December 5, 2016, the Company

announced that Defendant Abraham had resigned his board seat effective immediately. Because of

Defendant Abraham’s positions, he knew the adverse non-public information about the business of

comScore, as well as its finances, markets and present and future business prospects, via access to

internal corporate documents, conversations and connections with other corporate officers and


                                               -9-
           Case 1:16-cv-09855-JGK       Document 1       Filed 12/21/16      Page 11 of 62




employees, attendance at management and/or Board meetings and committees thereof and via

reports and other information provided to him in connection therewith. During the relevant period,

Defendant Abraham participated in the issuance and preparation of materially false and/or

misleading statements, including press releases and SEC filings. While in the possession of material

non-public information about comScore, Defendant Abraham sold $29.9 million of his comScore

stock during the relevant period at fraud-inflated prices.

           24.   Defendant David I. Chemerow (“Chemerow”) has served as comScore’s CFO since

August 5, 2016. Previously, he served as Rentrak’s Chief Operating Officer, CFO, and Secretary

until comScore’s acquisition of Rentrak. Because of Defendant Chemerow’s positions, he knew the

adverse non-public information about the business of comScore, as well as its finances, markets and

present and future business prospects, via access to internal corporate documents, conversations and

connections with other corporate officers and employees, attendance at management and/or Board

meetings and committees thereof and via reports and other information provided to him in

connection therewith. During the relevant period, Defendant Chemerow participated in the issuance

and preparation of materially false and/or misleading statements, including press releases and SEC

filings.

           25.   Defendant Wesley was, from August 29, 2014 until August 5, 2016, comScore’s

CFO. Defendant Wesley did not formally end his employment with comScore until October 10,

2016. Because of Defendant Wesley’s positions, he knew the adverse non-public information about

the business of comScore, as well as its finances, markets and present and future business prospects,

via access to internal corporate documents, conversations and connections with other corporate

officers and employees, attendance at management and/or Board meetings and committees thereof

and via reports and other information provided to him in connection therewith. During the relevant


                                               - 10 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 12 of 62




period, Defendant Wesley participated in the issuance and preparation of materially false and/or

misleading statements, including press releases and SEC filings. While in the possession of material

non-public information about comScore, Defendant Wesley sold $6.2 million of his comScore stock

during the relevant period at fraud-inflated prices.

       26.     Defendant Kenneth J. Tarpey (“Tarpey”) was, from April 20, 2009 until August 5,

2014, comScore’s CFO. Because of Defendant Tarpey’s positions, he knew the adverse non-public

information about the business of comScore, as well as its finances, markets and present and future

business prospects, via access to internal corporate documents, conversations and connections with

other corporate officers and employees, attendance at management and/or Board meetings and

committees thereof and via reports and other information provided to him in connection therewith.

During the relevant period, Defendant Tarpey participated in the issuance and preparation of

materially false and/or misleading statements, including press releases and SEC filings. While in the

possession of material non-public information about comScore, Defendant Tarpey sold $1 million of

his comScore stock during the relevant period at fraud-inflated prices.

       27.     Defendant William J. Henderson (“Henderson”), who served as a member of the

comScore Board, Chair of its Compensation Committee and its Lead Independent Director

throughout the relevant period, was recently named the Chairman of the Board on November 18,

2016. Defendant Henderson has also concurrently served on the board of directors of Acxiom since

June 2001, where he serves as chairman of that board’s compensation committee and as a member of

its corporate governance committee. Because of Defendant Henderson’s positions, he knew the

adverse non-public information about the business of comScore, as well as its finances, markets and

present and future business prospects, via access to internal corporate documents, conversations and

connections with other corporate officers and employees, attendance at Board meetings and


                                               - 11 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 13 of 62




committees thereof and via reports and other information provided to him in connection therewith.

During the relevant period, Defendant Henderson participated in the issuance and preparation of

materially false and/or misleading statements, including press releases and SEC filings. As a

member of the Compensation Committee (Chairman) at all relevant times, Defendant Henderson

controlled the other Defendants’ executive compensation. As a member of the Audit Committee at

all relevant times, Defendant Henderson caused or allowed the dissemination of the improper public

statements described herein. While in the possession of material non-public information about

comScore, Defendant Henderson sold $1.4 million of his comScore common stock during the

relevant period at fraud-inflated prices.

       28.     Defendant William E. Engel (“Engel”) has served as a director of comScore since

February 2016 and joined the Board when comScore acquired Rentrak where Defendant Engel had

served as a director. Because of Engel’s position, he knew the adverse non-public information about

the business of comScore, as well as its finances, markets and present and future business prospects,

via access to internal corporate documents, conversations and connections with other corporate

officers and employees, attendance at Board meetings and committees thereof and via reports and

other information provided to him in connection therewith. During the relevant period, Defendant

Engel participated in the issuance and preparation of materially false and/or misleading statements,

including press releases and SEC filings.

       29.     Defendant Russell Fradin (“Fradin”) has served as a director of comScore since July

2014. Previously, Defendant Fradin served as comScore’s Executive Vice President, Corporate

Development from June 2000 to June 2004. In addition to serving as a director of comScore during

the relevant period, Defendant Fradin serves as the chairman of the board and the CEO at Dynamic

Signal, where Defendant Fulgoni serves on his board. Because of Defendant Fradin’s positions, he


                                               - 12 -
       Case 1:16-cv-09855-JGK          Document 1        Filed 12/21/16     Page 14 of 62




knew the adverse non-public information about the business of comScore, as well as its finances,

markets and present and future business prospects, via access to internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at Board

meetings and committees thereof and via reports and other information provided to him in

connection therewith. During the relevant period, Defendant Fradin participated in the issuance and

preparation of materially false and/or misleading statements, including press releases and SEC

filings. As a member of the comScore Compensation Committee during 2014-2016, Defendant

Fradin controlled the executive compensation of the other Defendants.

       30.     Defendant Ronald J. Korn (“Korn”) has served as a director of comScore at all

relevant times. Defendant Korn also sits on the Petmeds Board of Directors with Defendant Fulgoni,

where both sit on the audit, compensation and corporate governance committees together and

Defendant Korn is chairman of the audit committee. Because of Korn’s position, he knew the

adverse non-public information about the business of comScore, as well as its finances, markets and

present and future business prospects, via access to internal corporate documents, conversations and

connections with other corporate officers and employees, attendance at Board meetings and

committees thereof and via reports and other information provided to him in connection therewith.

During the relevant period, Defendant Korn participated in the issuance and preparation of

materially false and/or misleading statements, including press releases and SEC filings. As a

member of the Audit Committee in 2013, 2015 and as Chair in 2016, Defendant Korn caused or

allowed the dissemination of the improper public statements described herein. While in the

possession of material non-public information about comScore, Defendant Korn sold $205,800 of

his comScore stock during the relevant period at fraud-inflated prices.




                                               - 13 -
       Case 1:16-cv-09855-JGK         Document 1       Filed 12/21/16      Page 15 of 62




       31.     Defendant Brent D. Rosenthal (“Rosenthal”) has served as a director of comScore

since February 2016 when comScore acquired Rentrak where Defendant Rosenthal had served as a

director. Because of Defendant Rosenthal’s positions, he knew the adverse non-public information

about the business of comScore, as well as its finances, markets and present and future business

prospects, via access to internal corporate documents, conversations and connections with other

corporate officers and employees, attendance at Board meetings and committees thereof and via

reports and other information provided to him in connection therewith. During the relevant period,

Defendant Rosenthal participated in the issuance and preparation of materially false and/or

misleading statements, including press releases and SEC filings. As a member of the Audit

Committee during 2016, Defendant Rosenthal caused or allowed the dissemination of the improper

public statements described herein.

       32.     Defendant Jeffrey Ganek (“Ganek”) served as a director of comScore between 2008

and 2014. Because of Defendant Ganek’s position, he knew the adverse non-public information

about the business of comScore, as well as its finances, markets and present and future business

prospects, via access to internal corporate documents, conversations and connections with other

corporate officers and employees, attendance at Board meetings and committees thereof and via

reports and other information provided to him in connection therewith. During the relevant period,

Defendant Ganek participated in the issuance and preparation of materially false and/or misleading

statements, including press releases and SEC filings. As a member of the Audit Committee during

2013-2014, Defendant Ganek caused or allowed the dissemination of the improper public statements

described herein.

       33.     Defendant William Katz (“Katz”) served as a director of comScore at all relevant

times until he resigned his directorship in September 2016. Because of Defendant Katz’s position,


                                              - 14 -
       Case 1:16-cv-09855-JGK          Document 1       Filed 12/21/16      Page 16 of 62




he knew the adverse non-public information about the business of comScore, as well as its finances,

markets and present and future business prospects, via access to internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at Board

meetings and committees thereof and via reports and other information provided to him in

connection therewith. During the relevant period, Defendant Katz participated in the issuance and

preparation of materially false and/or misleading statements, including press releases and SEC

filings. As a member of the comScore Compensation Committee at all relevant times, Defendant

Katz controlled the executive compensation of the other Defendants.

       34.     Defendant Joan M. Lewis (“Lewis”) served as a director of comScore between

January 2015 and when she resigned her directorship in November 2016. Defendant Lewis also

served as the Chairman of the Board between July 2016 and November 2016. Because of Defendant

Lewis’s positions, she knew the adverse non-public information about the business of comScore, as

well as its finances, markets and present and future business prospects, via access to internal

corporate documents, conversations and connections with other corporate officers and employees,

attendance at Board meetings and committees thereof and via reports and other information provided

to her in connection therewith. During the relevant period, Defendant Lewis participated in the

issuance and preparation of materially false and/or misleading statements, including press releases

and SEC filings. As a member of the Audit Committee during 2015-2016, Defendant Lewis caused

or allowed the dissemination of the improper public statements described herein.

       35.     Defendant Patricia A. Gottesman (“Gottesman”) served as a director of comScore

between February 2016 when comScore acquired Rentrak and when she resigned her directorship in

November 2016. Previously Defendant Gottesman had served as a director of Rentrak. Because of

Defendant Gottesman’s positions, she knew the adverse non-public information about the business


                                              - 15 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 17 of 62




of comScore, as well as its finances, markets and present and future business prospects, via access to

internal corporate documents, conversations and connections with other corporate officers and

employees, attendance at Board meetings and committees thereof and via reports and other

information provided to her in connection therewith. During the relevant period, Defendant

Gottesman participated in the issuance and preparation of materially false and/or misleading

statements, including press releases and SEC filings.

       36.     The defendants identified in ¶¶ 20-21 and 27-31 comprise the current Board as of the

filing of this Complaint and are sometimes referred to herein as the “Director Defendants.” The

defendants identified in ¶¶20-26 are sometimes referred to herein as the “Officer Defendants.” The

defendants identified in ¶¶20, 22, 23, 25-27 and 30 are sometimes referred to herein as the “Insider

Selling Defendants.”

                                    DEFENDANTS’ DUTIES

       37.     Each officer and director of comScore named herein owed the Company and

comScore shareholders the duty to exercise a high degree of care, loyalty and diligence in the

management and administration of the affairs of the Company, as well as in the use and preservation

of its property and assets. The conduct of comScore’s directors and officers complained of herein

involves knowing, intentional and culpable violations of their obligations as officers and directors of

comScore. Further, the misconduct of comScore’s officers has been ratified by comScore’s Board,

which has failed to take any legal action on behalf of the Company against them.

       38.     By reason of their positions as officers, directors and fiduciaries of comScore and

because of their ability to control the business and corporate affairs of the Company, Defendants

owed comScore and its shareholders fiduciary obligations of candor, trust, loyalty and care, and were

required to use their ability to control and manage comScore in a fair, just, honest and equitable

manner, and to act in furtherance of the best interests of comScore and its shareholders so as to
                                                - 16 -
       Case 1:16-cv-09855-JGK             Document 1       Filed 12/21/16      Page 18 of 62




benefit all shareholders equally and not in furtherance of their personal interest or benefit. In

addition, as officers and/or directors of a publicly held company, the Defendants had a duty to

refrain from utilizing their control over comScore to divert assets to themselves via improper and/or

unlawful practices. Defendants also had a duty to promptly disseminate accurate and truthful

information with respect to the Company’s operations, earnings and compensation practices.

        39.        Because of their positions of control and authority as directors or officers of

comScore, each of the Defendants was able to and did, directly and indirectly, control the wrongful

acts complained of herein. As to the Director Defendants, these acts include: (i) agreement to and/or

acquiescence in Defendants’ false financial reporting; (ii) permitting comScore to operate with

defective internal controls; and (iii) allowing certain Defendants to unjustly enrich themselves to the

detriment of the Company. Because of their positions with comScore, each of the Defendants was

aware of these wrongful acts, had access to adverse non-public information and was required to

disclose these facts promptly and accurately to comScore shareholders and the financial markets but

failed to do so.

        40.        To discharge their duties, the directors of comScore were required to exercise

reasonable and prudent supervision over the management, policies, practices and controls of the

business and financial affairs of comScore. By virtue of such duties, the officers and directors of

comScore were required, among other things, to:

                   (a)    manage, conduct, supervise and direct the business affairs of comScore in

accordance with all applicable law (including federal and state laws, government rules and

regulations and the charter and bylaws of comScore);

                   (b)    neither engage in self-dealing nor knowingly permit any officer, director or

employee of comScore to engage in self-dealing;


                                                 - 17 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 19 of 62




               (c)     neither violate nor knowingly permit any officer, director or employee of

comScore to violate applicable laws, rules and regulations;

               (d)     remain informed as to the status of comScore’s operations, including its

accounting practices, and upon receipt of notice or information of imprudent or unsound practices, to

make a reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices and make such disclosures as are necessary to comply with the U.S. federal securities laws

and their duty of candor to the Company’s shareholders;

               (e)     prudently protect the Company’s assets, including taking all necessary steps to

recover corporate assets (cash, stock options and RSUs) improperly paid to Company executives and

directors together with the related costs (professional fees) proximately caused by the illegal conduct

described herein;

               (f)     establish and maintain systematic and accurate records and reports of the

business and affairs of comScore and procedures for the reporting of the business and affairs to the

Board of Directors and to periodically investigate, or cause independent investigation to be made of,

said reports and records;

               (g)     maintain and implement an adequate, functioning system of internal legal,

financial and accounting controls, such that comScore’s financial statements – including its

expenses, accounting and other financial information – would be accurate and the actions of its

directors would be in accordance with all applicable laws;

               (h)     exercise control and supervision over the public statements to the securities

markets and trading in comScore stock by the officers and employees of comScore; and

               (i)     supervise the preparation and filing of any financial reports or other

information required by law from comScore and to examine and evaluate any reports of


                                                - 18 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 20 of 62




examinations, audits or other financial information concerning the financial affairs of comScore and

to make full and accurate disclosure of all material facts concerning, inter alia, each of the subjects

and duties set forth above.

       41.     Each Defendant, by virtue of his or her position as a director and/or officer, owed to

the Company and to its shareholders the fiduciary duties of loyalty, good faith and the exercise of

due care and diligence in the management and administration of the affairs of the Company, as well

as in the use and preservation of its property and assets. The conduct of the Defendants complained

of herein involves a knowing and culpable violation of their obligations as directors and/or officers

of comScore, the absence of good faith on their part, and a reckless disregard for their duties to the

Company and its shareholders which Defendants were aware or should have been aware posed a risk

of serious injury to the Company. The conduct of the Defendants who were also officers and/or

directors of the Company during the relevant period has been ratified by the Director Defendants

who comprised comScore’s entire Board during the relevant period.

       42.     Defendants breached their duties of loyalty and good faith by allowing or by

themselves causing the Company to misrepresent its financial results and prospects, as detailed

herein infra, and by failing to prevent the Defendants from taking such illegal actions. As a result,

comScore has expended and will continue to expend significant sums of money. Such expenditures

include, but are not limited to:

               (a)     improvidently paid executive compensation;

               (b)     increased capital costs as a result of the loss of market capitalization and the

Company’s damaged reputation in the investment community;

               (c)     costs incurred to carry out internal investigations, including legal fees paid to

outside counsel; and


                                                - 19 -
       Case 1:16-cv-09855-JGK             Document 1        Filed 12/21/16       Page 21 of 62




                (d)     incurring possible civil lawsuit damages and/or SEC fines or penalties for

improperly reporting revenue.

        43.     These actions have irreparably damaged comScore’s corporate image and goodwill.

For at least the foreseeable future, comScore will suffer from what is known as the “liar’s discount,”

a term applied to the stocks of companies who have been implicated in illegal behavior and have

misled the investing public, such that comScore’s ability to raise equity capital or debt on favorable

terms in the future is now impaired.

                   AIDING AND ABETTING AND CONCERTED ACTION

        44.     In committing the wrongful acts alleged herein, Defendants have pursued or joined in

the pursuit of a common course of conduct and acted in concert with one another in furtherance of

their common plan.

        45.     During all times relevant hereto, Defendants collectively and individually initiated a

course of conduct which was designed to and did: (i) conceal the fact that the Company was

allowing its directors and senior officers to force comScore to misrepresent its financial results in

violation of GAAP; (ii) artificially inflate the market price of comScore common stock by causing

comScore to report those false financial results; (iii) otherwise buttress the market price of comScore

common stock by causing comScore to repurchase more than $49 million of its own shares on the

open-market at artificially inflated prices; (iv) facilitate insider selling of more than $78.3 million of

common stock by certain Defendants; (v) expose the Company to hundreds of millions of dollars in

potential civil and criminal liability to investors and regulators; (vi) maintain certain of the

Defendants’ executive and directorial positions at comScore and the profits, power and prestige

which Defendants enjoyed as a result of these positions; (vii) allow other Defendants to resign their

positions with the Company to receive hundreds of thousands of dollars in improper severance

payments instead of reimbursing the Company for the damages their misconduct caused; and (viii) to
                                                  - 20 -
       Case 1:16-cv-09855-JGK             Document 1         Filed 12/21/16       Page 22 of 62




deceive the investing public, including shareholders of comScore, regarding comScore’s financial

performance.

        46.     The purpose and effect of Defendants’ common course of conduct was, among other

things, to disguise Defendants’ violations of law, breaches of fiduciary duties, abuse of control, gross

mismanagement, corporate waste and unjust enrichment, to conceal adverse information concerning

the Company’s operational and financial condition and to artificially inflate the price of comScore

common stock so they could dispose of millions of dollars of their own comScore stock, and

enhance their executive and directorial positions and receive the substantial compensation they

obtained as a result thereof.

        47.     Defendants accomplished their common enterprise and/or common course of conduct

by causing the Company to purposefully and/or recklessly misrepresent comScore’s financial results;

to artificially inflate the stock price to facilitate tens of millions of dollars of insider stock sales; to

further buttress the stock price to facilitate those insider sales by causing comScore to repurchase

tens of millions of dollars of its own common stock on the open market at inflated prices; and

promising to pay certain outgoing executives hundreds of millions of dollars in severance payments

rather than requiring them to reimburse comScore for the potentially hundreds of millions of dollars

in damages they caused it. Each of the Defendants was a direct, necessary, and substantial

participant in the common enterprise and/or common course of conduct complained of herein.

        48.     Each of the Defendants aided and abetted and rendered substantial assistance in the

wrongs complained of herein. In taking such actions to substantially assist the commission of the

wrongdoing complained of herein, each Defendant acted with knowledge of the primary

wrongdoing, substantially assisted the accomplishment of that wrongdoing, and was aware of his or

her overall contribution to and furtherance of the wrongdoing.


                                                  - 21 -
       Case 1:16-cv-09855-JGK          Document 1      Filed 12/21/16      Page 23 of 62




                                       BACKGROUND

       49.     Nominal Defendant comScore was founded in July 1999 by Defendants Fulgoni and

Abraham as a large online panel (group of users) to track online commerce. Traditional methods for

companies to track online behavior failed to effectively track e-commerce because of the lower

incidence of completing sales online. With normal panels in tracking visitation being around only

twenty to thirty thousand and, with less than 2-3% of the population then making online purchases,

Defendants Fulgoni and Abraham determined their panel size needed to be at least one to two

million. They decided to build that very large panel using more aggressive recruiting methodology

and managing for the error by using advanced statistical methods and controls.

       50.     comScore now maintains a massive panel of users who have monitoring software

(with brands including PermissionResearch, OpinionSquare and VoiceFive Networks) installed on

their computers. In exchange for joining the comScore research panels, users are presented with

various benefits, including computer security software, Internet data storage, virus scanning and

chances to win cash or prizes. comScore estimates that two million users are now part of its

monitoring program. comScore’s data is used to generate reports on topics ranging from web traffic

to video streaming activity and consumer buying power. Following its founding, comScore grew

through acquisitions, acquiring several large customer bases helping to accelerate the growth of

comScore’s syndicated measurement service.

       51.     In 2007, the Company went public through an initial public stock offering (“IPO”)

and listed its shares on the NASDAQ.

       52.     On February 11, 2014, comScore announced the appointment of Defendant Matta as

its CEO and on August 5, 2014 it announced the appointment of Defendant Wesley as its CFO.

       53.     In September 2015, comScore and Rentrak announced that comScore would acquire

Rentrak (the “Rentrak Acquisition”). Defendants billed the Rentrak Acquisition as beneficial as it
                                              - 22 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 24 of 62




would combine comScore’s digital media measurement capabilities with the TV measurement

capabilities of Rentrak to create an even more massive cross-platform media measurement firm,

perhaps even capable of challenging Nielsen Holdings PLC in the media measurement space. Under

the terms of the acquisition agreement, comScore would acquire Rentrak in an all-stock deal valued

at approximately $732 million, with Rentrak shareholders receiving 1.15 shares of comScore for

each share of Rentrak. On February 1, 2016, comScore completed the Rentrak Acquisition.

       54.      According to a complaint filed in a case pending in the Circuit Court of the State of

Oregon, captioned In re Rentrak Corp. Shareholders Litigation, 15-cv-27429, Rentrak retained

Grant Thornton LLP (“Grant Thornton”) to perform financial due diligence on comScore in

connection with conducting its due diligence in connection with the Rentrak acquisition. According

to the complaint in that case, Grant Thornton provided the Rentrak board of directors, which then

included Defendants Livek, Engel and Rosenthal, with a report dated September 4, 2015 raising

several red flags regarding comScore’s recognition of nonmonetary revenue, including the following

key findings:

               comScore’s use of nonmonetary, i.e., “barter,” transactions for the sharing of data or
                exchange of services that comScore had accounted for as revenue “may have
                provided opportunities for [comScore] Management to ‘manage’ revenues to meet
                targets.”

               comScore’s use of nonmonetary transactions “may not be fully understood by
                research analysts and [investors]. It [was] unclear how much [comScore’s] stock
                price may be impacted if [comScore’s] non-monetary arrangements are better
                understood.”

               “It is unclear how much analysts have incorporated [nonmonetary transactions] in
                their forecasts and understand the arrangement’s impact on revenue and earnings.”

               A “[c]onsensus revenue for virtually all periods would not have been achievable
                without [nonmonetary transactions].”

       55.      Nonetheless, on September 29, 2015, comScore and Rentrak announced that they had

entered into a final merger agreement. The September 29, 2015 press release announcing the
                                                - 23 -
       Case 1:16-cv-09855-JGK            Document 1        Filed 12/21/16      Page 25 of 62




Rentrak Acquisition stated that Defendants Abraham, Matta and Wesley were staying on as

comScore’s Chairman, CEO and CFO respectively, with Rentrak’s senior executives assuming

supporting executive roles. The press release stated in pertinent part as follows:

       Combined Company Management Team and Governance

       comScore’s current Chief Executive Officer, Serge Matta, will lead the combined
       company as CEO. Dr. Magid Abraham will remain as the Executive Chairman of the
       Board. Bill Livek, Rentrak’s current Vice Chairman & CEO, will serve as the
       company’s Executive Vice Chairman & President. Mel Wesley will continue as the
       Chief Financial Officer, and David Chemerow, Rentrak’s current COO & CFO, will
       serve as a strategic advisor to the CEO, focused on the successful integration of the
       two companies. The new company will also draw upon the collective talent at both
       companies to harness the experience and expertise of each organization to redefine
       the future of measurement. The combined company’s board will consist of twelve
       directors – eight from comScore and four from Rentrak.

DEFENDANTS INFLATE THE MARKET PRICE OF COMSCORE COMMON STOCK
         BY FALSIFYING COMSCORE’S FINANCIAL REPORTS

       56.     During the relevant period,2 Defendants caused comScore common stock to trade at

artificially inflated levels by issuing a series of materially false and misleading statements regarding

the Company’s financial results, business and prospects. Specifically, Defendants caused or allowed

comScore to issue materially false and misleading financial statements that failed to disclose or

misstated the following: (i) that Defendants were causing comScore to improperly recognize

revenues on millions of dollars of nonmonetary barter transactions and other monetary contracts in

violation of GAAP; and (ii) that the Company’s internal reporting controls were defective and

preventing it from issuing accurate financial reports and projections.

       57.     The quarter-after-quarter reports of “record” revenue growth that Defendants caused

comScore to issue during the relevant period included not only cash revenue from customers buying

its services and products, but also tens of millions of dollars in revenue the Company recognized

2
        The relevant period commenced in 2013 and runs through the present as the Company has
not yet disclosed the full extent of its false financial reporting.

                                                 - 24 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16       Page 26 of 62




from nonmonetary transactions. These nonmonetary transactions, which are also sometimes referred

to as “barter transactions,” involved data-sharing agreements with other parties. Under these

arrangements, comScore and its counterparties would swap data without exchanging any significant

cash or other payment. comScore’s counterparties booked no revenue from these data swaps.

Nonetheless, comScore booked tens of millions of dollars in revenue from these nonmonetary

transactions based on Defendants’ unilateral determination of the “fair value” of the data exchanged.

       58.     While Defendants did not break out comScore’s nonmonetary revenue in its press

releases or during its quarterly conference calls held with investors and stock analysts during the

relevant period, certain of comScore’s filings with the SEC did disclose the amount of revenue

attributable to nonmonetary transactions for certain periods as follows:

                                          “RECORD” REVENUE                 NONMONETARY
      REPORTING PERIOD ENDED                  REPORTED                       REVENUE
             FY December 31, 2013             $286.9 Million                 $3.2 Million
                  January 31, 2014            $76.9 Million                  $2.2 Million
                     June 30, 2014            $80.0 Million                  $1.8 Million
               September 30, 2014             $82.1 Million                  $4.6 Million
        3 Mos. December 31, 2014              $90.1 Million                  $7.7 Million
             FY December 31, 2014             $329.1 Million                 $16.3 Million
                  January 31, 2015            $87.3 Million                  $3.8 Million
                     June 30, 2015            $91.4 Million                  $10.8 Million
               September 30, 2015             $92.4 Million                  $9.1 Million
        3 Mos. December 31, 2015              $97.7 Million                  not disclosed
             FY December 31, 2015             $368.8 Million                 not disclosed
      Total:                                                                 $43.2 Million

       59.     And while comScore’s nonmonetary revenue grew in absolute terms during the

relevant period, it grew even faster as a proportion of comScore’s reported growth in revenue:




                                               - 25 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 27 of 62




                                                                                NONMONETARY
                                                    REPORTED GROWTH              REVENUE AS
                                NONMONETARY         FROM SAME PERIOD            PERCENTAGE OF
REPORTING PERIOD ENDED            REVENUE             IN PRIOR YEAR                GROWTH
     FY December 31, 2013          $3.2 million        $31.7 million                10.1%
          January 31, 2014         $2.2 million         $8.1 million                27.2%
             June 30, 2014         $1.8 million        $10.1 million                17.8%
       September 30, 2014          $4.6 million        $10.5 million                43.8%
 3 Mos. December 31, 2014          $7.7 million        $13.6 million                56.6%
     FY December 31, 2014         $16.3 million        $42.2 million                38.6%
          January 31, 2015         $3.8 million        $10.4 million                36.5%
             June 30, 2015        $10.8 million        $12.6 million                85.7%
       September 30, 2015          $9.1 million        $10.3 million                88.3%
     FY December 31, 2015          not reported         not reported              not reported
Total:                            $43.2 million      $107.2 million

       60.     Nonmonetary Transactions (“ASC 845”) is a provision of GAAP that governs

revenue recognition when an issuer does not receive a payment of cash or other monetary assets or

liabilities for goods or services. Such nonmonetary transactions involve either of the following:

       a) An exchange with another entity (reciprocal transfer) that involves principally
       nonmonetary assets or liabilities

       b) A transfer of nonmonetary assets for which no assets are received or relinquished
       in exchange (nonreciprocal transfer).

ASC 845-10-05-2.

       61.     While fair value is ordinarily used to measure a nonmonetary transaction, ASC 845

lists three conditions in which the recorded amounts, otherwise referred to as “historical costs,” of

assets exchanged should be used in measuring nonmonetary transactions in place of fair value:

       A nonmonetary exchange shall be measured based on the recorded amount . . . of the
       nonmonetary asset(s) relinquished, and not on the fair values of the exchanged assets,
       if any of the following conditions apply:

       a. The fair value of neither the asset(s) received nor the asset(s) relinquished is
       determinable within reasonable limits.

       b. The transaction is an exchange of a product or property held for sale in the
       ordinary course of business for a product or property to be sold in the same line of
       business to facilitate sales to customers other than the parties to the exchange.

                                               - 26 -
       Case 1:16-cv-09855-JGK            Document 1        Filed 12/21/16       Page 28 of 62




       c. The transaction lacks commercial substance.

ASC 845-10-30-3; see also ASC 845-10-30-4 (defining “commercial substance” to mean “the

entity’s future cash flows are expected to significantly change as a result of the exchange”).

       62.     Defendants repeatedly stated in the financial reports comScore filed with the SEC that

they were recognizing revenues from the nonmonetary transactions based on the “fair value” of

either the assets surrendered or the assets received in those barter deals in accordance with ASC 845,

stating, in pertinent part as follows, for example:

       The Company accounts for nonmonetary transactions under ASC 845, Nonmonetary
       Transactions. Nonmonetary transactions with commercial substance are recorded at
       the estimated fair value of assets surrendered including cash, if cash is less than 25%
       of the fair value of the overall exchange, unless the fair value of the assets received is
       more clearly evident, in which case the fair value of the asset received is used.

       63.     However, in the fall of 2016 comScore admitted that in reality Defendants had been

improperly recognizing the revenue and related expenses associated with these nonmonetary

transactions, which revenues should have been “accounted for at historical cost rather than at fair

value,” and since “[t]here [was] no historical cost basis associated with the assets that the Company

exchanged,” “therefore there should [have been] no revenue recognized or expenses incurred for

those transactions.”

       64.     Additionally, comScore admitted in November 2016 that the Company also

inaccurately accounted for certain monetary transactions that will also be corrected when the

Company completes its restatement. These monetary transactions principally relate to the timing of

revenue recognition. One of these transactions involved over-delivery of data that recurred in

multiple periods, two others included potential undisclosed additional arrangements that required

contemporaneous contracts to be accounted for as a single arrangement, and one related to partially

delayed invoicing for delivered data inconsistent with the terms of the contract.



                                                 - 27 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16   Page 29 of 62




       65.     Defendants also concealed that comScore’s transactions with Acxiom – on whose

board of directors Defendant Henderson also sits – was the counterparty to over half of the

Company’s nonmonetary transaction revenue in 2013 and two-thirds of the nonmonetary revenue in

2014. As such, unbeknownst to investors, for each period, nonmonetary barter transactions with

Acxiom – which both comScore and Acxiom enjoyed contemporaneous unilateral abilities to report

as they saw fit – were providing an enormous percentage of comScore’s total related party revenue.

The following chart sets forth the extent of this relationship:

                                                                               RELATED-PARTY
                                                            RELATED-PARTY      PERCENTAGE OF
                                   NONMONETARY               NONMONETARY       NONMONETARY
REPORTING PERIOD ENDED                REVENUE                   REVENUE           REVENUE
     FY December 31, 2013          $3.2 Million              $1.8 Million           56%
           March 31, 2014          $2.2 Million              $1.7 Million           77%
            June 30, 2014          $1.8 Million              $1.5 Million           83%
       September 30, 2014          $4.6 Million              $1.5 Million           33%
 3 Mos. December 31, 2014          $7.7 Million                $6 Million           77%
     FY December 31, 2014         $16.3 Million             $10.7 Million           66%
           March 31, 2015          $3.8 Million              $2.1 Million           55%
            June 30, 2015         $10.8 Million              $2.2 Million           20%
       September 30, 2015          $9.1 Million              $2.3 Million           25%
Total:                            $43.2 Million             $19.1 Million          44.2%

       66.     Meanwhile, none the wiser due to Defendants’ deception, the market consistently

reacted to comScore’s supposedly “record” revenues by driving the market price of comScore

common stock higher and higher after nearly each announcement:

                REPORTING PERIOD ANNOUNCED “RECORD”                 STOCK PRICE
                      ENDED              REVENUE                     INCREASED
                 December 31, 2013  $286.9 million (FY13)                5%
                   January 31, 2014  $76.9 million                      10%
                      June 30, 2014  $80.0 million                       0%
                 September 30, 2014  $82.1 million                       7%
                 December 31, 2014  $329.1 million (FY14)               25%
                   January 31, 2015  $87.3 million                      15%
                      June 30, 2015  $91.4 million                      14%
                 September 30, 2015  $92.4 million                       5%
                 December 31, 2015  $368.8 million (FY15)                5%

                                                - 28 -
         Case 1:16-cv-09855-JGK         Document 1        Filed 12/21/16    Page 30 of 62




          67.   At the same time that Defendants were issuing false statements and causing the price

of comScore common stock to trade at artificially inflated prices, the comScore Board approved a

stock buy-back and caused comScore to purchase more than four million comScore shares at the

artificially inflated market prices, thereby causing comScore to overpay an estimated more than $49

million for those shares as follows (not including any shares repurchased between October 1, 2015

and February 29, 2016 when Defendants finally cancelled comScore’s stock repurchase program):

    REPORTING PERIOD           SHARES                   AVERAGE PRICE            ESTIMATED
          ENDED              REPURCHASED                PAID PER SHARE         OVERPAYMENT3
         March 31, 2014        1,068,599                    $29.46                $491,555.54
           June 30, 2014         571,150                    $30.45                $828,167.50
     September 30, 2014           87,468                    $33.85                $424,219.80
     December 31, 2014            23,865                    $37.71                $207,864.15
         March 31, 2015          513,089                    $47.01              $9,240,732.89
           June 30, 2015       1,099,764                    $44.06             $16,562,445.84
     September 30, 2015          872,505                    $53.47             $21,350,197.35
                               4,236,440                                       $49,105,183.07

          68.   Defendants’ combined efforts to artificially inflate the market price of comScore

common stock through false financial reporting and to further buttress the stock price through the

stock buy-back had its intended effect, with the shares ultimately reaching an all-time high of more

than $64 per share in early August 2015:




3
          Based on November 30, 2016 market trading price of comScore common stock of $29.

                                               - 29 -
      Case 1:16-cv-09855-JGK          Document 1       Filed 12/21/16     Page 31 of 62




      CERTAIN OF THE DEFENDANTS CASH-IN ON THE STOCK INFLATION

       69.    Meanwhile, with the price of comScore common stock artificially inflated, certain of

the Company’s senior executives and directors cashed in, including the Selling Shareholder

Defendants who collectively sold more than 2.1 million shares of their personally-held shares,

reaping more than $78.3 million in gross proceeds as follows:




                                             - 30 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 32 of 62




       70.     Defendants Matta and Wesley, who had both joined the Company in 2014, were also

unjustly enriched as a result of the artificial stock price inflation through their receipt of improper

stock option and RSU vesting. As identified by the Wall Street Journal in July 12, 2016 and August

31, 2015 exposés detailing how a material and growing portion of comScore’s reported revenues


                                                - 31 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 33 of 62




were the result of nonmonetary transactions and challenging comScore’s accounting for those

nonmonetary transactions, as comScore’s share price continued to climb in response to its steady

reports of “record” revenues augmented by those growing nonmonetary transactions, Defendants

Matta and Wesley obtained outsized executive compensation under the terms of their respective

employment agreements.

       71.     On November 7, 2014, under the direction of Defendant Henderson in his role as

chair of comScore’s Compensation Committee, Defendants Matta and Wesley had been awarded

lucrative stock options and RSUs that only vested if the average daily closing price of comScore

common stock exceeded targets of $48, $50, $55, or $60 over varied 30 consecutive calendar-day

periods. Though comScore common stock was only trading at approximately $43 per share when

those lucrative awards were made in November 2014, as comScore continued to report quarter after

quarter of “record” revenue growth fueled by the false financial reporting and buttressed by the stock

buy-backs, the market price of comScore common stock rose to meet all four of those price targets

so that all four blocks of shares granted to Defendants Matta and Wesley qualified for vesting or

exercising between March and August 2015:




                                                - 32 -
       Case 1:16-cv-09855-JGK            Document 1       Filed 12/21/16      Page 34 of 62




       72.     As a result, Defendants Matta and Wesley received the improper vesting on millions

of dollars of stock options and RSUs, collectively receiving shares valued at more than $9 million

over a period lasting less than six months:

                                      VESTED          VALUE OF          VESTED          VALUE OF
                                      SHARES         DEFENDANT          SHARES         DEFENDANT
                                   RECEIVED BY        MATTA’S        RECEIVED BY       WESLEY’S
                                   DEFENDANT           VESTED        DEFENDANT           VESTED
  TIER         VESTING DATE          MATTA             SHARES          WESLEY            SHARES
   $48        March 1, 2015          68,401          $3,283,248         15,112           $725,376
   $50        March 8, 2015          13,686            $684,300          3,148           $157,400
   $55        June 6, 2015           31,091          $1,710,005         6,927            $380,985
   $60        August 23, 2015        28,500          $1,710,000          6,297           $377,820
Total:                              $141,678         $7,387,553        $31,474         $1,641,581

                          THE TRUTH BEGINS TO BE REVEALED

       73.     On November 25, 2015, the SEC sent a letter to comScore addressed to Defendant

Matta questioning certain representations made in the Company’s annual financial report for FY

2014 ended December 31, 2014. The SEC first noted that comScore “state[d] that of $16.3 million

in revenue related to non-monetary transactions during 2014, $10.7 million of that amount [was]

attributable to a single related party transaction,” and that the SEC was “unable to locate disclosure

regarding these transactions in [comScore’s] related party transactions disclosure included in [its]

amended 10-K filed on April 24, 2015.” The inquiry referenced Item 404(a) of SEC Regulation S-K

requiring additional disclosures concerning “any transaction, since the beginning of the registrant’s

last fiscal year, or any currently proposed transaction, in which the registrant was or is to be a

participant and the amount involved exceeds $120,000, and in which any related person had or will

have a direct or indirect material interest.”

       74.     The SEC letter went on to make two additional inquires as to comScore’s “Revenue

Recognition” for nonmonetary transactions, stating, in pertinent part, as follows:



                                                - 33 -
       Case 1:16-cv-09855-JGK            Document 1        Filed 12/21/16    Page 35 of 62




       Please tell us what consideration you gave to breaking out the impact of non-
       monetary transactions in your presentation of results of operations for the periods
       presented.

                                           *       *       *

       We note from your disclosures that you have non-monetary transactions. Describe
       the nature of the date exchanges that are being accounted for as non-monetary
       transactions. Indicate whether these transactions are similar to your typical revenue
       transactions. Consider revising your disclosures to clarify the nature of the non-
       monetary transactions. We refer you to ASC 845-10-50-1.

       75.     In the Company’s response to the SEC dated December 3, 2015, as to the SEC’s

initial inquiry regarding related party transaction disclosures, Defendants responded revealing that

one of comScore’s directors was affiliated with the counterparty to the lion’s share of the

nonmonetary transactions, but refused to publicly disclose the name of that director or the entity he

was affiliated with, only stating, in pertinent part, as follows:

       The Company supplementally advises the Staff that such disclosure relates to a
       contract by and between the Company and [****] (the “Customer”) . [****] is a
       director of the Company and also a director of the Customer (the “Related Person”),
       which would make him a “related person” under Instruction 1 to Item 404(a).
       However, the Related Person did not and is not expected to have a material direct or
       indirect interest in the Company’s transaction with the Customer. As of [****],
       2015, the Related Person beneficially owned only [****] shares of the Customer, or
       [****]% of its outstanding shares. During the fiscal year ended March 31, 2015, the
       Related Person earned $[****] in total compensation from the Customer for services
       as a member of its board of directors, all consistent with the disclosed director
       compensation policies of the Customer. The Related Person did not disclose any
       further interest in the Customer to the Company, nor is the Company aware of further
       interest by the Related Person in the Customer or the referenced transaction with the
       Customer. Accordingly, the Company respectfully submits that the Related Person
       did not have a direct material interest in the referenced transaction, and in reliance
       upon Instruction 6 to Item 404(a), the Related Person did not have an indirect
       material interest in the referenced transaction since such person’s only relationship
       arose as a director of the Customer and a beneficial owner of less than 10% of the
       equity interest in the Customer.

       The Company supplementally advises the Staff that it referenced the relationship in
       its financial statements in the interest of providing additional disclosure of the
       relationship regarding the Customer and the Related Person notwithstanding that
       such disclosure was not otherwise required pursuant to Item 404(a).


                                                 - 34 -
       Case 1:16-cv-09855-JGK          Document 1        Filed 12/21/16       Page 36 of 62




       76.     On December 3, 2015, Defendants responded to the SEC arguing that the

nonmonetary transactions were too “immaterial” and as such, they had not been disclosing them at

all prior to the report for the quarter ended June 30, 2015 when revenues from those transactions

reached 10% of total revenues, and even then had only made minimal disclosures thereafter, though

maintaining the revenues from the nonmonetary transactions had all been appropriately

accounted for. Defendants’ letter stated in pertinent part as follows:

       The Company supplementally advises the Staff that it considered the impact of its
       nonmonetary transactions during the year ended December 31, 2014 and concluded
       that such transactions were immaterial to an understanding of the Company’s
       operations as a whole during the period presented in the discussion of Results of
       Operations presented in the 2014 Form 10-K. The Company advises the Staff that
       the revenue from such transactions represented less than 5% of total revenue during
       the year ended December 31, 2014. Notwithstanding, the Company disclosed the
       overall effect in its Summary of Significant Accounting Policies in the discussion of
       its policy regarding nonmonetary transactions. The Company supplementally
       advises the Staff that it first began disclosing the amount of its nonmonetary
       revenue and associated expenses in the discussion of its Results of Operations in
       its Quarterly Report on Form 10-Q for the quarter ended June 30, 2015. This
       disclosure was prompted when the Company’s nonmonetary revenue exceeded
       10% of its total revenue for the first time in a given period and the Company
       determined such detail may enhance a reader’s understanding of its results of
       operations. Accordingly, the Company increased the prominence of the disclosure.
       However, the overall details were generally consistent with prior disclosures since
       the Company had historically broken out nonmonetary transactions in the notes to its
       financial statements and the summary of significant accounting policies included in
       its Managements’ Discussion and Analysis of Financial Condition and Results of
       Operations section.

       The Company will continue to carefully evaluate on a quarterly basis if additional
       disclosure regarding the extent and nature of its nonmonetary transactions should be
       described in the Results of Operations section or otherwise in its quarterly and annual
       reports.

       The Company supplementally advises the Staff that all of its nonmonetary
       transactions were consistent with its typical forms of transactions with data source
       providers for which costs are recognized and customer transactions for which
       revenue is recognized. Accordingly, the Company determined that the disclosure
       in the Results of Operations regarding trends generally otherwise captured the
       material factors contributing to the changes in the Company’s results of operations
       for the periods presented in the 2014 Form 10-K.

                                               - 35 -
        Case 1:16-cv-09855-JGK          Document 1        Filed 12/21/16       Page 37 of 62




                                          *       *       *

        All of the Company’s nonmonetary transactions were consistent with its typical
        forms of transactions with data source providers for which costs are recognized
        and customer transactions for which revenue is recognized. As an example, in
        these types of nonmonetary transactions, the Company provides subscription
        products and solutions that it typically sells on a cash basis to data source providers
        in exchange for additional consumer demographics and segmentation data that
        improves the accuracy and granularity of the Company’s products and services,
        particularly the Company’s panel and census data. The Company concluded that
        such transactions were consistent with its accounting policies and with the terms of
        similar transactions with other ordinary course transactions but for the
        nonmonetary element. Notwithstanding, the Company intends to provide additional
        disclosure in its upcoming Annual Report on Form 10-K for the year ended
        December 31, 2015 consistent with the Staff’s comment affirmatively clarifying the
        nature of these transactions and that such transactions were conducted on terms
        otherwise consistent with its typical types of agreements of similar substance.

The letter was signed by comScore’s outside counsel with Defendants Matta and Wesley copied.

        77.    Suddenly, however, on February 19, 2016, just days after announcing $368.8 million

in “record annual GAAP revenue” for FY 2015 on February 17, 2016, Defendants caused comScore

to announce in a filing with the SEC that the Board’s Audit Committee had commenced an

investigation in response to having received tips concerning possible accounting malfeasance. As a

result, Defendants stated that comScore would not be able to timely file its 2015 annual report with

the SEC.

        78.    Defendants again delayed filing the 2015 annual report in March, May and June 2016,

stating each time that the Audit Committee had not yet finished its review, despite the NASDAQ

having notified comScore in March 2016 that it was not in compliance with its listing agreement and

that comScore common stock would be delisted unless its 2015 annual report was filed within 60

days.

        79.    On July 22, 2016, comScore suddenly and without explanation announced that its co-

founder, Defendant Abraham, was stepping down as Chairman of the Board to focus on other things.



                                                - 36 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 38 of 62




       80.     In August 2016, Defendants once again announced that they would need additional

time to file the Company’s 2015 annual report and its interim financial statements for the first and

second quarter of 2016, this time disclosing they had hired outside legal counsel and auditing

professionals to assist the Audit Committee with its investigation. Defendants revealed that the

Board had identified some misreporting of nonmonetary revenue – primarily barter transactions.

comScore also disclosed that it had named co-founder Defendant Fulgoni as a replacement for then-

CEO Defendant Matta as CEO. Then-Executive Vice Chairman of the Board Defendant Livek, who

had only recently joined comScore in connection with comScore’s acquisition of Rentrak, would

also assume responsibilities for the Company’s strategic and day-to-day operations. comScore also

replaced CFO Defendant Wesley with new CFO Defendant Chemerow in August 2016.

       81.     On September 2, 2016, Defendants announced that comScore had received a delisting

notice from the NASDAQ because they had failed to bring comScore’s SEC filings current and that

they planned to appeal.

       82.     On September 15, 2016, Defendants announced that the Board’s Audit Committee

had concluded that all of comScore’s previously-issued financial statements for fiscal years 2013 and

2014, along with the first three interim reporting periods of fiscal 2015 and the FY 2015 financial

results report it had issued on February 23, 2016, could no longer be relied upon and that the prior

financial statements would have to be restated because they erroneously recognized revenue from

nonmonetary transactions that should never have been recognized in violation of GAAP. In so

conceding, Defendants revealed that in order to correct the “errors” in comScore’s accounting for

nonmonetary transactions, the Company would be forced to wipe out all of the previously

recognized nonmonetary revenue it had previously recognized and reported.




                                               - 37 -
           Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 39 of 62




           83.     Specifically, Defendants admitted that they lacked a reliable basis to determine the

    fair value of the assets they had caused comScore to surrender in the nonmonetary transactions

    because the Company had not made comparable cash sales; that they did not have a reliable basis to

    determine the fair value of the assets comScore had acquired in the nonmonetary transactions

    because the counterparties to those transactions had not made comparable cash sales; that the

    nonmonetary transactions lacked commercial substance because the data Defendants acquired was

    less valuable than they had previously represented; and that comScore did not have a historical cost

    basis for the data it delivered in the nonmonetary transactions.

           84.     As a result, the Company then reported that the entire $43 million in nonmonetary

    revenue Defendants had caused comScore to report in its prior financial statements had been

    recognized in violation of GAAP. Of that more than $43 million in nonmonetary revenue that the

    Company has now admitted was improperly recognized, more than $19 million—nearly half—was

    derived from transactions with Acxiom alone. The following chart sets forth the financial impact of

    Defendants’ fraudulent accounting for nonmonetary transactions:

                                           REVENUES                     (LOSS) INCOME FROM OPERATIONS
  REPORTING PERIOD           AS PREVIOUSLY                              AS PREVIOUSLY
        ENDED                  REPORTED             AS ADJUSTED           REPORTED         AS ADJUSTED
   FY December 31, 2013       $286.86 Million      $283.615 Million       $3.093 Million    $1.644 Million
   FY December 31, 2014      $329.151 Million        $312.9 Million     ($14.78 Million) ($14.768 Million)
          March 31, 2015      $87.329 Million       $83.532 Million      ($9.19 Million) ($8.816 Million)
           June 30, 2015      $91.414 Million       $80.649 Million     ($2.818 Million) ($8.593 Million)
      September 30, 2015      $92.405 Million       $83.310 Million       $2.243 Million ($1.722 Million)
3 Mos. December 31, 2015      $97.669 Million       $92.362 Million       $7.115 Million    $8.332 Million
   FY December 31, 2016      $368.817 Million      $339.853 Million     ($2.650 Million) ($10.799 Million)

           85.     In the ensuing weeks, Defendants would claim that comScore’s outgoing CEO and

    CFO had merely “resigned from employment with the Company for Good Reason” in connection

    with the “change of control” that occurred due to the Rentrak acquisition in early 2016 – despite the

    fact that they had both been terminated upon the Board’s purported discovery of the financial

                                                   - 38 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 40 of 62




chicanery. Because the Board deemed both of those terminations “for Good Reason,” and because

the Board entered into mutual “non-disparagement” agreements and releases with each of those

departing executives that forbade them from disclosing the other Defendants’ complicity in their

misconduct, comScore would be forced to pay each of those faithless fiduciaries hundreds of

thousands of dollars in severance benefits. Specifically, Defendant Matta would receive his then-

current annual salary of $496,000 for a period of 24 months following his separation, or $992,000,

along with ongoing COBRA medical insurance payments and any vested stock options and RSUs

(including those that had been improperly vested); and Defendant Wesley would receive his then-

current annual salary of $334,400 for a period of 15 months following his separation, or $418,000,

along with ongoing COBRA medical insurance payments and any vested stock options and RSUs

(including those that had been improperly vested).

       86.     On November 17, 2016, the newly appointed Chairman of comScore’s Board,

Defendant Lewis, along with fellow Board member Defendant Gottesman, both suddenly and

without explanation resigned. On November 18, 2016, Defendant Henderson was appointed

Chairman of the Board.

       87.     On November 23, 2016, comScore announced that it had identified more improper

accounting as to certain monetary transactions, stating, in pertinent part, that “the accounting

treatment for certain monetary transactions [would] need to be adjusted, principally relating to the

timing of revenue recognition,” that “[o]ne of these transactions involved over-delivery of data that

recurred in multiple periods, two others included potential undisclosed additional arrangements that

required contemporaneous contracts to be accounted for as a single arrangement, and one related to

partially delayed invoicing for delivered data inconsistent with the terms of the contract.”




                                               - 39 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 41 of 62




       88.     On November 23, 2016, comScore announced that its “Audit Committee’s

investigation also identified concerns regarding internal control deficiencies, including concerns

about tone at the top; errors in judgment identified with respect to issues reviewed; information not

having been provided to the Company’s accounting group and its external auditors; and the

sufficiency of public disclosures made by the Company about certain performance metrics.”

       89.     On December 5, 2016, the Company suddenly announced that Defendant Abraham

had resigned his board seat effective immediately.

       90.     As of the filing of this Complaint, comScore has still been unable to fully quantify the

required financial restatements or to bring its financial filings with the SEC current and the

NASDAQ is still threatening to permanently delist the Company’s common stock if those filings are

not brought current by February 23, 2017.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       91.     Plaintiff brings this action derivatively in the right and for the benefit of comScore to

redress injuries suffered and to be suffered by comScore as a direct result of Defendants’ violations

of state and federal law, breaches of fiduciary duties, abuse of control, constructive fraud, gross

mismanagement, corporate waste and unjust enrichment, as well as the aiding and abetting thereof,

by the Defendants. This is not a collusive action to confer jurisdiction on this Court, which it would

not otherwise have.

       92.     Plaintiff will adequately and fairly represent the interests of comScore and its

shareholders in enforcing and prosecuting its rights.

       93.     Plaintiff is an owner of comScore stock and was an owner of comScore stock during

times relevant to Defendants’ illegal and wrongful course of conduct alleged herein.

       94.     Based upon the facts set forth throughout this Complaint, applicable law and the

longstanding rule that equity does not compel a useless and futile act, a pre-filing demand upon the
                                                - 40 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 42 of 62




comScore Board of Directors to institute this action against the officers and members of the

comScore Board of Directors is excused as futile. A pre-filing demand would be a useless and futile

act because:

               (a)     comScore’s 2015 Annual Proxy Statement to shareholders expressly concedes

that Defendant Fulgoni is not independent due to his executive positions with the Company and his

relationships with and dependence upon the other members of the Board for his livelihood.

Likewise, Rentrak’s last annual proxy statement to its shareholders expressly conceded that

Defendant Livek was not independent due to his executive positions with Rentrak and his

relationships with and dependence upon its board members for his livelihood. For the same reasons,

though Defendant Livek was not yet on the comScore Board when its 2015 Proxy was issued – and

the Company has not yet held a 2016 annual general shareholder meeting much less mailed out a

Proxy statement for 2016 – Defendants Fulgoni and Livek are not independent.

               (b)     By virtue of the facts that in addition to serving on the comScore Board,

Defendant Engel also serves as chairman of the board and is a minority owner of Consumer Orbit

LLC (“Consumer Orbit”), a Kansas City-based marketing information aggregator with a focus on the

relationship between existing consumer databases and consumer generated transactions-based data

that both partners with and uses Rentrak’s/comScore’s local markets and national television ratings

systems to service its own customers, he too is not independent. In that capacity, Defendant Engel

was serving as a consultant to Rentrak at the time of the acquisition and upon information and belief

he continues to serve as a consultant to comScore. Indeed, Rentrak’s last Annual Proxy Statement to

shareholders expressly conceded that Defendant Engel was not independent due to his executive

positions with Consumer Orbit and that company’s business relationships with and dependence upon

Rentrak (now comScore) for his livelihood, further stating in pertinent part as follows:


                                               - 41 -
       Case 1:16-cv-09855-JGK          Document 1       Filed 12/21/16     Page 43 of 62




       In February 2010, Mr. Engel began providing services as an independent consultant
       to assist Rentrak in combining its sources of data for its TV Essentials™ product
       under a three-year agreement with Consumer Orbit L.L.C., of which Mr. Engel is
       Chairman. The consulting fee under the agreement was $10,000 per month, which
       was reduced to $6,000 per month (or $72,000 per year) upon Mr. Engel’s election as
       a director of Rentrak in August 2010. . . . In addition, as part of his consulting
       arrangement, on June 8, 2011 and June 17, 2011, we granted to Mr. Engel stock
       options to purchase 5,000 and 15,000 shares of our common stock, respectively, with
       a grant date fair market value of $60,126 and $141,599, respectively, and in June
       2015, we granted Mr. Engel 14,678 restricted stock units with a grant date fair
       market value of $1.0 million. After considering these compensation arrangements
       and input from the Nominating and Governance Committee, the board has
       concluded that Mr. Engel is not an “independent director” under applicable
       Nasdaq listing standards as of June 11, 2015.

               (c)    By virtue of the facts that Defendant Fradin: (i) is a former executive of

comScore, having served as its Executive Vice President, Corporate Development from 2000-2004;

(ii) is a co-founder of and now serves as CEO and chairman of the board of directors of Dynamic

Signal, a software company which provides marketing solutions for brands, which according to

Dynamic Signal’s November 13, 2013 press release counted comScore as a “customer win,” and

cited Defendant Matta stating that “Dynamic Signal’s Employee Advocacy solution empowers over

1000 Comscore employees to be brand advocates by making it easy and convenient for our staff to

be social through iOS and Android mobile apps, an employee hub, and through our existing portals

and intranets,” and that comScore had “seen a significant return on investment because Dynamic

Signal’s VoiceStorm platform help[ed] [comScore] expand [its] reach and [drove] social sales

because [its] sales and marketing teams [could] now identify, engage, nurture and win new

customers through their personal social networks,” and (iii) Defendant Fradin’s livelihood at

Dynamic Signal is in large part dependent upon his company’s ongoing business with comScore and

his relationships with its senior executives and directors, Defendant Fradin could not competently

investigate the claims against the other Defendants alleged herein.




                                              - 42 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 44 of 62




               (d)     By virtue of the facts that the lion’s share of the nonmonetary transactions

comScore participated in were conducted with a single counterparty, Acxiom, upon whose board of

directors Defendant Henderson sits, Defendant Henderson is not disinterested because he was both

intimately knowledgeable of all aspects of those nonmonetary barter transactions, directly oversaw

those transactions and the accounting for them, and is potentially liable for facilitating the

nonmonetary barter transactions and the improper accounting for those transactions.

               (e)     Having sold stock at fraud-inflated prices while in possession of material non-

public information concerning comScore’s accounting malfeasance and revenue overstatements,

Insider Selling Defendants Fulgoni, Henderson and Korn face potential liability for violations of the

federal securities laws and insider trading prohibitions and as such are not disinterested in the

outcome of allegations that they, or any of the other Insider Selling Defendants, violated the federal

securities laws by selling stock while in possession of material non-public information.

               (f)     As members of the Rentrak Board of Directors in September 2015,

Defendants Livek, Engel and Rosenthal each received the detailed Grant Thornton due diligence

report raising several red flags as to comScore’s revenue recognition as detailed infra at ¶54.

               (g)     By virtue of the facts that Defendant Fulgoni sits on the Board of Directors of

Dynamic Signal where Defendant Fradin serves as CEO and chairman of the board, has personally

made venture capital investments in Dynamic Signal, and where Defendant Fulgoni decides

Defendant Fradin’s annual compensation, upon which Defendant Fradin is wholly dependent upon

for his livelihood, Defendant Fradin is not independent of Defendant Fulgoni and could not

competently consider a demand to bring suit against Defendant Fulgoni or the other Board Members

for the claims alleged herein.




                                                - 43 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 45 of 62




               (h)     By virtue of the fact that Defendant Korn has been employed as the president

of Ronald Korn Consulting located in Boca Raton, Florida since July 1991, where according to his

LinkedIn page resume, for his livelihood he “[p]rimarily sit[s] on boards of directors and chair audit

committees of public companies,” which according to his LinkedIn page includes comScore, Ocwen

Financial Corporation (“Ocwen”) and Petmeds, where Defendant Fulgoni, co-founder of comScore

also serves on the Petmeds Board, Defendant Korn’s positions on, not just one, but two of the three

boards of directors where he serves as chairman of the audit committee would be jeopardized if he

decided to bring suit against Defendant Fulgoni and the other Defendants. Indeed, Defendant Korn

was recently charged in his capacity as the chairman of the Ocwen Board’s audit committee with

breaching his fiduciary duties in causing or permitting Ocwen to commit a massive securities fraud

where Defendant Korn and the rest of the Ocwen Board are charged with “concealing from

shareholders and the investing public known failures with respect to the Company’s compliance with

state and federal regulations governing the servicing of mortgage loans, failing to establish adequate

internal controls, permitting Ocwen’s now former Chairman and Chief Executive Officer . . . Erbey,

to participate and direct a series of improper self-dealing transactions between Ocwen and

companies in which . . . Erbey had significant ownership interests and allowing insiders to trade on

material adverse inside information” and further, “[n]otwithstanding both government regulations

and multiple regulatory decrees requiring Ocwen’s compliance with servicing guidelines . . .

ignor[ing] multiple red flags” with respect to “Ocwen’s non-compliance and permitt[ing] Ocwen’s

continued violations of state and federal law.” See In re Ocwen Derivative Action Litig., SDFL No.

14-CV-81601-WPD, Consolidated Verified Shareholder Derivative Complaint, filed March 8, 2016,

ECF No. 143, at ¶¶1, 2, 123, 195. In the Ocwen derivative action, a demand was made on the

Ocwen Board to bring suit but Defendant Korn and the other Ocwen board members wholly failed to


                                                - 44 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 46 of 62




respond to that demand, much less to take any action against Ocwen’s faithless fiduciaries, and

ultimately sought dismissal of the claims against them and Ocwen’s other faithless fiduciaries. After

Ocwen was placed under a consent order with the New York Department of Financial Services as a

result of the securities fraud and plaintiffs charged Defendant Korn with being complicit with the

misconduct, Defendant Korn was removed from the special litigation committee the Ocwen Board

had empanelled to investigate the fraud precisely because he lacked independence. Here too, by

virtue of his livelihood being incumbent upon continuing to be invited to serve as Audit Committee

Chair of various boards, Defendant Korn is not independent and could not be called upon to

competently and independently investigate and bring the claims being alleged herein.

               (i)     By virtue of the fact that in addition to being a member of the comScore

Board (and had previously been a director of Rentrak since 2008, including serving as the non-

executive chairman of its board), Defendant Rosenthal is also a partner at W.R. Huff Asset

Management Co., LLC (“W.R. Huff”), one of comScore’s largest shareholders, Defendant Rosenthal

is not independent. W.R. Huff, an employee owned investment manager, owns more than 1.1

million shares of comScore common stock, or approximately 2% of its outstanding shares.

According to Defendant Rosenthal’s bio with Bloomberg, he “plays a key role in WRH Asset

Management’s investment activities in a wide variety of media and communications companies in

the areas of media measurement, cable television, outdoor advertising, content, television and radio

broadcasting, satellite communications and wireless communications.” Specifically, “[f]rom 2006 to

June 2012, he served as an Advisor to and Observer of the Board of Directors of Virgin Media and

as a consultant to the company, providing turn-around and crisis-management services, as well as

operational and financial analysis and recommendations. From 2007 to 2010, he served as an

Advisor to the Executive Management of Time Warner Cable. From August 1997 to March 2001,


                                               - 45 -
       Case 1:16-cv-09855-JGK           Document 1       Filed 12/21/16      Page 47 of 62




he served as Director of Mergers & Acquisitions at RSL Communications, Ltd. . . . He has been

Chairman at RiceBran Technologies since July 5, 2016 and its Independent Director since July 5,

2016. . . . In 2016, Mr. Rosenthal was named a Money All-Star – a Top 10 media executive in

investment banking, private equity and advisory. In 2009, he was included in Multichannel News’

annual ‘40 Under 40’ list for influencing the future of cable and telecommunications.” Based on the

fact that Defendant Rosenthal relies upon his positions with W.R. Huff and his ability to procure

investment relationships with media and advertising companies, Defendant Rosenthal is not

independent and could not be called upon to competently and independently investigate and bring

the claims being alleged herein.

                (j)    By virtue of the fact that Defendants Henderson, Korn and Rosenthal were

members of the Board’s Audit Committee which, according to its charter was charged with

“oversee[ing] the accounting and financial reporting processes of the Company and audits of the

financial statements of the Company” and with “assist[ing] the Board in oversight and monitoring of

(i) the integrity of the Company’s financial statements; (ii) the Company’s compliance with legal

and regulatory requirements; . . . and (v) the performance of the Company’s internal audit function,”

Defendants Henderson, Korn and Rosenthal are directly complicit in and potentially liable for the

misconduct alleged herein and would not be disinterested in the outcome of an investigation into

these claims.

                (k)    By virtue of the fact that Defendant Henderson was the Chairman and

Defendant Fradin was a member of the Board’s Compensation Committee which, despite being

charged under the terms of its charter with “discharg[ing] the Board’s responsibilities relating to

oversight of the compensation of the Company’s Chief Executive Officer and other executive

officers” and “ensur[ing] that the Company structures its compensation plans, policies and programs


                                               - 46 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 48 of 62




as to . . . promote the success of the Company’s business,” the Compensation Committee

mischaracterized Defendants Matta’s and Wesley’s terminations as for “Good Reason” and allowed

them to walk away with millions of dollars of executive compensation and vested stock options

rather than being called upon to indemnify comScore for the misconduct they caused the Company

to undertake, Defendants Henderson and Fradin are directly complicit in and potentially liable for he

misconduct alleged herein and would not be disinterested in the outcome of an investigation into

these claims.

                (l)    The members of comScore’s Board have demonstrated their unwillingness

and/or inability to act in compliance with their fiduciary obligations and/or to sue themselves and/or

their fellow directors and allies in the top ranks of the corporation for the violations of law

complained of herein. These are people they have developed professional relationships with, who

are their friends and with whom they have entangling financial alliances, interests and dependencies,

and therefore, they are not able to and will not vigorously prosecute any such action.

                (m)    The comScore Board of Directors and senior management participated in,

approved and/or permitted the wrongs alleged herein to have occurred and participated in efforts to

conceal or disguise those wrongs from comScore’s stockholders or recklessly and/or negligently

disregarded the wrongs complained of herein, and are therefore not disinterested parties. As a result

of their access to and review of internal corporate documents, or conversations and connections with

other corporate officers, employees, and directors and attendance at management and/or Board

meetings, each of the Defendants knew the adverse non-public information regarding the false

financial reporting, the wasteful stock buy-backs and failure to pursue remedies against Defendants

Matta and Wesley and to instead deem their separations “for good reason” in order to pay them

improper severance benefits. Pursuant to their specific duties as Board members, the Director


                                                - 47 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16       Page 49 of 62




Defendants are charged with the management of the Company and to conduct its business affairs.

Defendants breached the fiduciary duties that they owed to comScore and its shareholders in that

they failed to prevent and correct the false financial reporting, the wasteful stock buy-backs and

failure to pursue remedies against Defendants Matta and Wesley and to instead deem their

separations “for good reason” in order to pay them improper severance benefits. Certain directors

are also dominated and controlled by other directors and cannot act independently of them. Thus,

the comScore Board cannot exercise independent objective judgment in deciding whether to bring

this action or whether to vigorously prosecute this action because each of its members participated

personally in the wrongdoing or are dependent upon other Defendants who did.

               (n)     The acts complained of constitute violations of the fiduciary duties owed by

comScore’s officers and directors and these acts are incapable of ratification.

               (o)     The members of comScore’s Board have benefited, and will continue to

benefit, from the wrongdoing herein alleged and have engaged in such conduct to preserve their

positions of control and the perquisites derived thereof, and are incapable of exercising independent

objective judgment in deciding whether to bring this action.

               (p)     Any suit by the current directors of comScore to remedy these wrongs would

likely further expose the liability of Defendants under the federal securities laws, which could result

in additional civil and/or criminal actions being filed against one or more of the Defendants, thus,

they are hopelessly conflicted in making any supposedly independent determination whether to sue

themselves.

               (q)     comScore has been and will continue to be exposed to significant losses due to

the wrongdoing complained of herein, yet the current Board has not filed any lawsuits against itself




                                                - 48 -
       Case 1:16-cv-09855-JGK            Document 1        Filed 12/21/16       Page 50 of 62




or others who were responsible for that wrongful conduct to attempt to recover for comScore any

part of the damages comScore suffered and will suffer thereby.

                (r)     In order to properly prosecute this lawsuit, it would be necessary for the

directors to sue themselves and the other Defendants, requiring them to expose themselves and their

comrades to millions of dollars in potential civil liability and criminal sanctions, or SEC sanctions.

This they will not do. Specifically, each of the members of the current Board are named defendants

in the securities fraud class action pending in this District entitled Fresno Cty. Emps.’ Ret. Assoc., et

al. v. comScore, Inc., et al., No. 1:16-cv-01820-JGK, with Defendant Henderson being charged with

violations of §§10(b) and 20(a) of the Exchange Act and SEC Rule 10b-5 in connection with

comScore’s issuance of materially false and misleading statements and financial reports between

February 11, 2014 and March 7, 2016; and Defendants Henderson, Fradin, Fulgoni, Korn, Livek,

Engel and Rosenthal are charged with violations of §14(a) of the Exchange Act and §11 of the

Securities Act in connection with signing and using a materially false and misleading merger proxy

statement and registration statement to obtain the approval of comScore and Rentrak shareholders

for the Rentrak acquisition and to register the stock provided to Rentrak shareholders as acquisition

currency in connection with the Rentrak acquisition. The participation of each of these Defendants

is detailed in the Consolidated Amended Complaint for Violations of the Federal Securities Laws

filed in that matter on October 19, 2016 (at ECF No. 83) and those allegations are expressly

incorporated herein by reference.

                (s)     comScore’s current and past officers and directors are protected against

personal liability for their acts of mismanagement, waste and breaches of fiduciary duties alleged in

this Complaint by directors’ and officers’ liability insurance which they caused the Company to

purchase for their protection with corporate funds, i.e., monies belonging to the stockholders of


                                                 - 49 -
       Case 1:16-cv-09855-JGK             Document 1       Filed 12/21/16       Page 51 of 62




comScore. However, due to certain changes in the language of directors’ and officers’ liability

insurance policies in the past few years, the directors’ and officers’ liability insurance policies

covering the Defendants in this case contain provisions which eliminate coverage for any action

brought directly by comScore against these Defendants, known as, inter alia, the “insured versus

insured exclusion.” As a result, if these directors were to sue themselves or certain of the officers of

comScore, there would be no directors’ and officers’ insurance protection and thus, this is a further

reason why they will not bring such a suit. On the other hand, if the suit is brought derivatively, as

this action is brought, such insurance coverage exists and will provide a basis for the Company to

effectuate a recovery.

               (t)       In order to bring this action for breaching their fiduciary duties, the members

of the comScore Board would have been required to sue themselves and/or their fellow directors and

allies in the top ranks of the Company, who are their personal friends and with whom they have

entangling financial alliances, interests and dependencies, which they would not do.

       95.     Plaintiff has not made any demand on shareholders of comScore to institute this

action since such demand would be a futile and useless act for the following reasons:

               (a)       comScore is a publicly traded company with approximately 39 million shares

outstanding, and thousands of shareholders;

               (b)       making demand on such a number of shareholders would be impossible for

Plaintiff who has no way of finding out the names, addresses or phone numbers of shareholders; and

               (c)       making demand on all shareholders would force Plaintiff to incur huge

expenses, assuming all shareholders could be individually identified.




                                                 - 50 -
       Case 1:16-cv-09855-JGK              Document 1    Filed 12/21/16      Page 52 of 62




                                              COUNT I

                   Violations of §10(b) and Rule 10b-5 of the Exchange Act
                                Against the Officer Defendants

       96.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       97.     Throughout the relevant period, the Officer Defendants individually and in concert,

directly and indirectly, by the use and means of instrumentalities of interstate commerce and/or of

the mails, engaged and participated in a continuous course of conduct designed to falsify comScore’s

financial reporting.

       98.     The Officer Defendants employed devices, schemes and artifices to defraud while in

possession of material, adverse non-public information and engaged in acts, practices and a course of

conduct that included the making of, or participation in the making of, untrue and/or misleading

statements of material facts and/or omitting to state material facts necessary in order to make the

statements made about comScore not misleading.

       99.     The Officer Defendants, as top executive officers and directors of the Company, are

liable as direct participants in the wrongs complained of herein. Through their positions of control

and authority as officers of the Company, each of the Officer Defendants was able to and did control

the conduct complained of herein and the content of the public statements disseminated by

comScore.

       100.    The Officer Defendants acted with scienter throughout the relevant period, in that

they either had actual knowledge of the misrepresentations and/or omissions of material facts set

forth herein, or acted with reckless disregard for the truth in that they failed to ascertain and to

disclose the true facts, even though such facts were available to them. Specifically, under GAAP, a

“restatement” is a term of art used only where a company’s previously issued financial statements

                                                - 51 -
       Case 1:16-cv-09855-JGK              Document 1     Filed 12/21/16      Page 53 of 62




were materially false as of the time of issuance and the misstatements were based on “facts that

existed at the time the financial statements were prepared.” In this case, comScore has announced

that it will be issuing a broad restatement because “the Company cannot support the prior accounting

for the nonmonetary transactions recorded by the Company during the years ended December 31,

2013, 2014, and 2015.” The Company’s Audit Committee has determined that comScore’s “revenue

and expenses associated with all nonmonetary transactions during the periods identified above

should be reversed and accounted for at historical cost rather than at fair value.” comScore has since

identified additional monetary transactions that were improperly accounted for where revenue was

improperly recognized. As revealed on November 23, 2016, the Audit Committee’s investigation

expressly “identified concerns regarding internal control deficiencies, including concerns about

tone at the top . . . .” The Officer Defendants were among the senior management of the Company,

and were therefore directly responsible for the false and misleading statements and/or omissions

disseminated to the public through press releases, news reports and filings with the SEC.

       101.    Each of the Officer Defendants participated in a scheme to defraud with the purpose

and effect of defrauding comScore.

       102.    By virtue of the foregoing, the Officer Defendants have violated §10(b) of the

Exchange Act, and Rule 10b-5 promulgated thereunder.

                                              COUNT II

                       Violations of §20(a) of the Exchange Act Against
                                    the Officer Defendants

       103.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       104.    The Officer Defendants, by virtue of their positions with comScore and their specific

acts, were, at the time of the wrongs alleged herein, controlling persons of comScore within the

                                                - 52 -
       Case 1:16-cv-09855-JGK              Document 1      Filed 12/21/16      Page 54 of 62




meaning of §20(a) of the Exchange Act. They had the power and influence and exercised the same

to cause comScore to engage in the illegal conduct and practices complained of herein.

                                             COUNT III

                   Breaches of Fiduciary Duties and/or Aiding and Abetting
                                   Against All Defendants

       105.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       106.    Each of the Defendants agreed to and did participate with Defendants Matta and

Wesley and the other Defendants and/or aided and abetted one another in a deliberate course of

action designed to divert corporate assets in breaches of fiduciary duties the Defendants owed to the

Company.

       107.    The Defendants have violated fiduciary duties of care, loyalty, candor and

independence owed to comScore and its public shareholders, have engaged in unlawful self-dealing

and have acted to put their personal interests and/or their colleagues’ interests ahead of the interests

of comScore and its shareholders.

       108.    As demonstrated by the allegations above, Defendants failed to exercise the care

required, and breached their duties of loyalty, good faith, candor and independence owed to

comScore and its public shareholders, and they failed to disclose material information and/or made

material misrepresentations to shareholders regarding comScore’s falsified financial reporting.

       109.    By reason of the foregoing acts, practices and course of conduct, the Defendants have

failed to exercise ordinary care and diligence in the exercise of their fiduciary obligations toward

comScore and its public shareholders.

       110.    As a proximate result of Defendants’ conduct, in concert with Defendants Matta and

Wesley, comScore has been injured and is entitled to damages.

                                                 - 53 -
       Case 1:16-cv-09855-JGK              Document 1    Filed 12/21/16     Page 55 of 62




                                             COUNT IV

                           Abuse of Control Against All Defendants

       111.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       112.    The Defendants employed the alleged scheme for the purpose of maintaining and

entrenching themselves in their positions of power, prestige and profit at, and control over,

comScore, and to continue to receive the substantial benefits, salaries and emoluments associated

with their positions at comScore. As a part of this scheme, Defendants actively made and/or

participated in the making of, or aided and abetted the making of, misrepresentations regarding

comScore.

       113.    Defendants’ conduct constituted an abuse of their ability to control and influence

comScore.

       114.    By reason of the foregoing, comScore has been damaged.

                                              COUNT V

                        Gross Mismanagement Against All Defendants

       115.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       116.    Defendants had a duty to comScore and its shareholders to prudently supervise,

manage and control the operations, business and internal financial accounting, and disclosure

controls of comScore.

       117.    Defendants, by their actions and by engaging in the wrongdoing described herein,

abandoned and abdicated their responsibilities and duties with regard to prudently managing the

businesses of comScore in a manner consistent with the duties imposed upon them by law. By

committing the misconduct alleged herein, Defendants breached their duties of due care, diligence

                                                - 54 -
       Case 1:16-cv-09855-JGK              Document 1      Filed 12/21/16      Page 56 of 62




and candor in the management and administration of comScore’s affairs and in the use and

preservation of comScore’s assets.

       118.    During the course of the discharge of their duties, Defendants knew or recklessly

disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants

caused comScore to engage in the scheme complained of herein which they knew had an

unreasonable risk of damage to comScore, thus breaching their duties to the Company. As a result,

Defendants grossly mismanaged comScore.

       119.    By reason of the foregoing, comScore has been damaged.

                                             COUNT VI

                           Constructive Fraud Against All Defendants

       120.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       121.    As corporate fiduciaries, Defendants owed to comScore and its shareholders a duty of

candor and full accurate disclosure regarding the true state of comScore’s business and assets and

their conduct with regard thereto.

       122.    As a result of the conduct complained of, Defendants made, or aided and abetted the

making of, numerous misrepresentations to and/or concealed material facts from comScore’s

shareholders despite their duties to, inter alia, disclose the true facts regarding their stewardship of

comScore. Thus they have committed constructive fraud and violated their duty of candor.

       123.    By reason of the foregoing, comScore has been damaged.

                                             COUNT VII

                            Corporate Waste Against All Defendants

       124.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

                                                 - 55 -
       Case 1:16-cv-09855-JGK              Document 1    Filed 12/21/16      Page 57 of 62




       125.    By failing to properly consider the interests of the Company and its public

shareholders, by failing to conduct proper supervision, and by giving away millions of dollars to

Defendants Matta and Wesley via their severance agreement payments and failure to seek indemnity

from them for the harm they caused comScore, and by engaging in the wasteful stock buy-backs

both to facilitate the vesting of millions of dollars in stock options and RSUs to Defendants Matta

and Wesley and in order to facilitate the insider sales by the Insider Selling Defendants, Defendants

have caused comScore to waste valuable corporate assets.

       126.    As a result of Defendants’ corporate waste, they are liable to the Company.

                                             COUNT VIII

     Unjust Enrichment Against Defendants Matta and Wesley and the Insider Selling
                                     Defendants

       127.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       128.    As a result of the conduct described above, Defendants Matta and Wesley and the

Insider Selling Defendants will be and have been unjustly enriched at the expense of comScore.

       129.    The Insider Selling Defendants sold comScore stock for a profit during the period of

deception, misusing confidential non-public corporate information. These Defendants should be

required to disgorge the gains which they have and/or will otherwise unjustly obtain at the expense

of comScore. A constructive trust for the benefit of the Company should be imposed thereon.

       130.    Defendants Matta and Wesley also obtained severance benefits that were not earned

or justified but were instead paid as part of a scheme to cover up Defendants’ complicity in the

scheme. A constructive trust for the benefit of the Company should be imposed thereon.




                                                - 56 -
       Case 1:16-cv-09855-JGK              Document 1     Filed 12/21/16      Page 58 of 62




       131.    Defendants Matta and Wesley also obtained vesting on millions of dollars of stock

options and RSUs as a result of their efforts to artificially inflate the market price of comScore

common stock. A constructive trust for the benefit of the Company should be imposed thereon.

       132.    All the payments, stock option and RSU vesting and stock sales proceeds provided to

these Defendants were at the expense of comScore. The Company received no benefit from these

payments and stock sales proceeds. comScore was damaged by such payments, vesting and stock

sales proceeds.

                                             COUNT IX

              Against the Insider Selling Defendants for Breaches of Fiduciary
              Duties for Insider Selling and Misappropriation of Information

       133.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       134.    At the time of the stock sales set forth herein, the Insider Selling Defendants knew the

information described above, and sold comScore common stock on the basis of such information.

       135.    The information described above was proprietary non-public information concerning

the Company’s financial condition and future business prospects. It was a proprietary asset

belonging to the Company, which the Insider Selling Defendants used for their own benefit when

they sold comScore common stock.

       136.    At the time of their stock sales, the Insider Selling Defendants knew that the

Company’s revenues were materially overstated. The Insider Selling Defendants’ sales of comScore

common stock while in possession and control of this material adverse non-public information was a

breach of their fiduciary duties of loyalty and good faith.




                                                - 57 -
       Case 1:16-cv-09855-JGK           Document 1        Filed 12/21/16      Page 59 of 62




       137.    Since the use of the Company’s proprietary information for their own gain constitutes

a breach of the Insider Selling Defendants’ fiduciary duties, the Company is entitled to the

imposition of a constructive trust on any profits the Insider Selling Defendants obtained thereby.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Awarding money damages against all Defendants, jointly and severally, for all losses

and damages suffered as a result of the acts and transactions complained of herein, together with pre-

judgment interest, to ensure Defendants do not participate therein or benefit thereby;

       B.      Directing all Defendants to account for all damages caused by them and all profits

and special benefits and unjust enrichment they have obtained as a result of their unlawful conduct,

including all severance payments, vesting of stock options and RSUs, payments of salaries, bonuses,

fees, stock awards, options and common stock sale proceeds and imposing a constructive trust

thereon;

       C.      Directing comScore to take all necessary actions to reform and improve its corporate

governance and internal control procedures to comply with applicable law, including, but not limited

to, putting forward for a shareholder vote resolutions for amendments to the Company’s By-Laws or

Articles of Incorporation and taking such other action as may be necessary to place before

shareholders for a vote adoption of the following Corporate Governance policies:

                       (i)     a permanent ban on engaging in “barter” transactions;

                       (ii)    a proposal prohibiting the Company from repurchasing common stock

on the open market or from senior executives pursuant to 10b5-1 trading plans within six months

sales of comScore common stock by the Company’s senior executives;




                                                - 58 -
       Case 1:16-cv-09855-JGK          Document 1       Filed 12/21/16      Page 60 of 62




                      (iii)   a proposal requiring that the offices of the CEO of comScore and

Chairman of the comScore Board of Directors be permanently held by separate individuals and that

the Chairman of the comScore Board meets rigorous “independent” standards;

                      (iv)    a proposal to strengthen the comScore Board’s supervision of

operations and develop and implement procedures for greater shareholder input into the policies and

guidelines of the Board;

                      (v)     appropriately test and then strengthen the internal audit and control

function;

                      (vi)    rotate independent auditing firms every five years;

                      (vii)   control and limit insider stock selling and the terms and timing of

stock option grants; and

                      (viii) reform executive compensation, including banning the practice of

rewarding executives for simply raising the market price of comScore common stock.

       D.      Ordering the imposition of a constructive trust over Defendants’ insider sales

proceeds, improper severance payments and improperly vested stock options;

       E.      Awarding punitive damages;

       F.      Awarding costs and disbursements of this action, including reasonable attorneys’,

accountants’, and experts’ fees; and

       G.      Granting such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

DATED: December 21, 2016                     ROBBINS GELLER RUDMAN
                                              & DOWD LLP
                                             SAMUEL H. RUDMAN
                                             MARY K. BLASY

                                              - 59 -
Case 1:16-cv-09855-JGK   Document 1    Filed 12/21/16    Page 61 of 62




                                            /s/ Samuel H. Rudman
                                           SAMUEL H. RUDMAN

                             58 South Service Road, Suite 200
                             Melville, NY 11747
                             Telephone: 631/367-7100
                             631/367-1173 (fax)
                             srudman@rgrdlaw.com
                             mblasy@rgrdlaw.com

                             ROBBINS GELLER RUDMAN
                             & DOWD LLP
                             BENNY C. GOODMAN, III
                             ERIK W. LUEDEKE
                             655 West Broadway, Suite 1900
                             San Diego, CA 92101
                             Telephone: 619/231-1058
                             619/231-7423 (fax)
                             bennyg@rgrdlaw.com
                             eluedeke@rgrdlaw.com

                             VANOVERBEKE MICHAUD
                               & TIMMONY, P.C.
                             THOMAS C. MICHAUD
                             79 Alfred Street
                             Detroit, MI 48201
                             Telephone: 313/578-1200
                             313/578-1201 (fax)
                             tmichaud@vmtlaw.com

                             Attorneys for Plaintiff




                              - 60 -
       Case 1:16-cv-09855-JGK          Document 1       Filed 12/21/16      Page 62 of 62




                                        VERIFICATION

       I, SAMUEL H. RUDMAN, hereby declare as follows:

       1.      I am a member of the law firm of Robbins Geller Rudman & Dowd, LLP, counsel for

Plaintiff in the above-entitled action. I have read the foregoing Complaint and know the contents

thereof. I am informed and believe the matters therein are true and on that ground allege that the

matters stated therein are true.

       2.      I make this Verification because Plaintiff is absent from the County of Suffolk where

I maintain my office.

       Executed this 21st day of December, 2016, at Melville, New York.



                                                            SAMUEL H. RUDMAN
